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                            UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF IDAHO

MARIA ANGELICA “ANGIE” CARBAJAL,                    Case No. 4:19-CV-00287-BLW
               Plaintiff
v.                                                       MOTION TO SEAL

HAYES MANAGEMENT SERVICES, INC.;
HAYES TAX & ACCOUNTING SERVICES,
INC.; and CHRIS HAYES,
                  Defendants

HAYES MANAGEMENT SERVICE, INC
             Counter-claimant
v.

MARIA ANGELICA “ANGIE” CARBAJAL
               Counter-defendant


       Plaintiff, Angie Carbajal (“Carbajal”), by and through her counsel of record Casperson

Ulrich Dustin PLLC, hereby moves the Court to file the following exhibit to the Declaration of

Amanda E. Ulrich in Support of Plaintiff’s Motion for Summary Judgment Regarding Defendant

Hayes Management Services, Inc.’s Counterclaims, pursuant to the terms of the Protective Order



1 – MOTION TO SEAL
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filed in this matter and the Court’s approval thereof (Dkts. 19 & 22), District of Idaho Local Rule

5.3, and Kamakana v. City of Honolulu, 477 F.3d 1173 (9th Cir. 2006):

•      Exhibit B, Payroll Services Conversion Agreement #13219 (Bates Hayes 1372-1379)

•      Exhibit C, template letter to clients (Bates Hayes 1410)

       Plaintiff seeks to file the above noted documents under seal because Defendant Hayes

Management designated these documents as “Confidential – Attorneys Eyes Only.”

       Based upon the foregoing, Plaintiff respectfully requests that the Court grant this Motion

to File Under Seal.



DATED this 21st day of September, 2022.               /s/
                                                     Amanda E. Ulrich
                                                     CASPERSON ULRICH DUSTIN, PLLC




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